           Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 1 of 7




          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 14-980V
                                       Filed: May 4, 2015

****************************
STELLAMARIE LIVERANCE,     *
                           *
               Petitioner, *                                Stipulation; Influenza;
v.                         *                                Shoulder Injury (SIRVA);
                           *                                Special Processing Unit (SPU)
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                           *
****************************

Michael G. McLaren, Black McLaren Jones Ryland & Griffee, PC, Memphis, TN, for
petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for
respondent.

                               DECISION ON JOINT STIPULATION 1

Vowell, Special Master:

       On October 14, 2014, Stellamarie Liverance (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq, 2 [the “Vaccine Act” or “Program”]. Petitioner alleged that, as a result
of receiving an influenza vaccine on October 16, 2013, she suffered a shoulder injury
the residual effects of which lasted more than six months. (See Stipulation for Award,
filed May 4, 2015, ¶¶ 1-4 (ECF No. 23).) Respondent denies that the influenza
vaccination caused petitioner’s alleged shoulder injury or any other injury. (Id., ¶. 6.)

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, it will be
posted on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2006).
          Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 2 of 7




       Nevertheless, the parties have agreed to settle the case. On May 4, 2015, the
parties filed a joint stipulation agreeing to settle this case and describing the settlement
terms.

        Respondent agrees to pay petitioner:

        A lump sum of $125,000.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under
        42 U.S.C. § 300aa-15(a). (Id, ¶ 8.)

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision. 3


IT IS SO ORDERED.


                                                                s/Denise K. Vowell
                                                                Denise K. Vowell
                                                                Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
        Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 3 of 7




                 IN THE UN ITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPEC IAL MASTERS

                                                 )
STELLAMA RI E LIV ERANCE,                        )
                                                 )
                      Petitioner,                )       No. I4-980Y      ECF
                                                 )
                v.                               )       Chief Special Master Yowell
                                                 )
SECRETA RY OF HEA LTH                            )
AND HUMAN SERVICES,                              )
                                                 )
                  Respondent.                    )
~~~~~~~~~~~~~~ )

                                           STIPULATION

        The parties hereby stipulate to the following matters:

        I.   Petiti oner, Stellamarie Li verance, filed a petition for vacc ine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa- I0 to 34 (the "Vacc ine

Program").    The petition seeks compen sation for inj uries allegedly related to petitioner's receipt

of the influenza (" flu ") vaccine. whi ch is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § I 00.3(a).

        2.   On October 16, 20 13, petitioner received the flu vaccine in her left arm.

        3.   The flu vaccine was administered within the Un ited States.

        4.   Petitioner al leges that, as a result of receiving the flu vaccine, she suffered from a le ft

shoulder injury, and that she ex peri enced symptoms of that injury for more than six month s.

       5.    Petitioner represents that there has been no pri or award or settlement of a civi l action

for damages as a result of her alleged inj uries.

       6.    Respondent deni es that the flu vacci ne either caused or significantly aggravated
        Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 4 of 7




petitioner·s alleged injury or any other injuries, and denies that petitioner·s current di sabi lit ies

are the resu lt of a vaccine-related injury.

        7.     Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.     As soon as practicable after an entry ofjudgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2 1(a)( I), the Secretary of Health and Human

Services will issue the fo llowing vaccine compensation payment:

                  A lump sum of $ 125,000.00, in the form of a check payab le to petiti oner. Th is
                  amount represents compensation for all damages that would be avai lable under 42
                  U.S.C. § 300aa-l 5(a).

        9.     As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has fil ed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2 I(a)( I), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        I0.     Petitioner and her attorney represent that compensation to be provided pu rsuant to

thi s Stipulation is not for any items or serv ices for wh ich the Program is not primarily liable

under 42 U.S.C. § 300aa-l 5(g), to the extent that payment has been made or can reasonab ly be

expected to be made under any State compensation program s, insurance policies, Federal or

State health benefits programs (other than T itle XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)). or by ent ities that provide health services on a pre-paid basi s.

        11 .    Payment made pursuant to paragraph 8 of this St ipu lation. and any amounts

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        Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 5 of 7




awarded pursuant to paragraph 9 o f this Stipulation, wi ll be made in accordance with 42 U.S .C.

§ 300aa-l 5(i), subj ect to the avail ability of sufficient statutory fund s.

        12.   The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner, as contemplated by a strict construction of 42 U.S.C.

§ 300aa- I 5(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa- I 5(g) and (h).

        13.   In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, admini strators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federa l Claims, under the National Vaccine Inj ury Compensation Program, 42

U.S.C. § 300aa-l 0 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from , or

alleged to have resulted from, the flu vaccine administered on October 16, 20 13, as alleged by

petitioner in a petiti on for vaccine compensation filed on or about October 14, 20 14, in the

United States Court of Federal Claims as petition No. l 4-980V.

        14.   If petitioner should die pri or to entry of judgment, th is agreement shall be voidable

upon proper notice to the Court on beha lfof either or both of th e parties.

        15.   If the speci al master fails to issue a dec ision in compl ete conformity with the terms

of this Stipulation or if the Court of Federa l Claim s fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of thi s Sti pulation, then the parties'

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        Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 6 of 7




settlement and this Stipu lation shall be voidab le at the so le discretion of either party.

        16.   This Stipulation expresses a full and complete negoti ated settl ement of liability and

damages claimed und er the Nati onal Childhood Vacc ine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above.       There is absolutel y no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to.    The parties further agree and understand that the award described in this

stipulation may refl ect a comprom ise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensati on sought, is not grounds to modi fy or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the Un ited States or the

Secretary of Health and Human Services that the flu vaccine received by petitioner either caused or

significantly aggravated petiti oner' s alleged injury, or caused any current alleged injury or

disability.

        18. All rights and ob ligations of petitioner hereunder shall appl y equal ly to petitioner's

heirs, executors, adm inistrators, successors, and/or assigns.

                                     END OF STIPULATION




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     Case 1:14-vv-00980-UNJ Document 32 Filed 07/17/15 Page 7 of 7




Respectfully subm itted,

PETITIONER :




ATTORNEY OF RECORD FOR                           AUTHORIZE D REPRESENT ATIVE
PETITIONER :                                     OF THE ATTORNEY GENERAL:




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530 Oak Court Drive, Suite 360
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                                                 Torls l3ranch
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                                                 P.O. Box 146
                                                 Benj amin Franklin Stati on
                                                 Washington, DC 20044-0146

AUTHORIZE D REPRESENT ATIVE                      ATTORNEY OF RECORD FOR
OF THE SECRETAR OF HEALTH                        RESPONDENT:
AND HUMA    ER Cl S:




                           ; M.D., M.P.H, FAAP
                                                 ~
                                                 DARRYL R. WISHARD
Director, Division of Injury                     Senior Trial Attorney
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Dated:   ___£1t {I>
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